Case 5:20-cv-01240-DSF-SHK Document 12 Filed 08/17/20 Page 1 of 3 Page ID #:38


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  4
      Attorneys for Plaintiff
  5
      JAMES RUTHERFORD
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  7
                            UNITED STATES DISTRICT COURT
  8
                           CENTRAL DISTRICT OF CALIFORNIA
  9
 10        JAMES RUTHERFORD, an             Case No.: 5:20-cv-01240-DSF-SHK
 11        individual,
                                            Hon. Dale S. Fischer
 12
           Plaintiff,
 13                                         NOTICE OF VOLUNTARY
           v.                               DISMISSAL WITH PREJUDICE
 14
                                            PURSUANT TO FEDERAL RULE OF
 15        LWLL, LLC, a California          CIVIL PROCEDURE 41(a)(1)(A)(i)
           limited liability company; and
 16
           DOES 1-10, inclusive,            Complaint Filed: June 19, 2020
 17                                         Trial Date: None
           Defendants.
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                        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
Case 5:20-cv-01240-DSF-SHK Document 12 Filed 08/17/20 Page 2 of 3 Page ID #:39

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  2         TO THE COURT AND ALL PARTIES:
  3         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
  4   Plaintiff James Rutherford (“Plaintiff”) requests that this Court enter a dismissal
  5   with prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety.
  6   Each party shall bear his or its own costs and attorneys’ expenses.
  7
  8                                          Respectfully submitted,
  9
 10    DATED : August 17, 2020               MANNING LAW, APC

 11                                          By: /s/ Joseph R. Manning, Jr.
                                               Joseph R. Manning, Jr.
 12
                                               Attorney for Plaintiff
 13                                            James Rutherford
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                     NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
Case 5:20-cv-01240-DSF-SHK Document 12 Filed 08/17/20 Page 3 of 3 Page ID #:40

  1                            CERTIFICATE OF SERVICE
  2         I certify that on August 17, 2020 I electronically filed the foregoing
  3   document with the Clerk of the Court using CM/ECF. I also certify that the
  4   foregoing document is being served this day on counsel of record in this action via
  5   email transmission and via transmission of Electronic Filing generated by CM/ECF.
  6                                                  Respectfully submitted,
  7
      Dated: August 17, 2020                        MANNING LAW, APC
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  9
 10
                                             By:     /s/ Joseph R. Manning, Jr., Esq.
 11                                                 Joseph R. Manning, Jr., Esq.
                                                     Attorney for Plaintiff,
 12                                                  James Rutherford
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                    NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
